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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA            )    Case No.: 1:24-mj-00225-CWD-1
                                    )
                   Plaintiff,       )    Charging District’s Case No.: 2:24-cr-00257-DJC
                                    )    AMENDED
vs.                                 )    WAIVER OF RULE 5 & 5.1
                                    )    HEARINGS
                                    )    (Complaint or Indictment)
                                    )
                   Defendant.       )
                                    )

      I understand that I have been charged in another district, the (name of the
      district/court)

                                                                                      .

      I have been informed of the charges and of my rights to:

(1)   retain counsel or request the assignment of counsel if I am unable to retain
      counsel;

(2)   an identity hearing to determine whether I am the person named in the
      charges;

(3)   production of the warrant, a certified copy of the warrant, or a reliable
      electronic copy of either;

(4)   a preliminary hearing within 14 days of my first appearance if I am in custody
      and 21 days otherwise -- unless I am indicted -- to determine whether there is
      probable cause to believe that an offense has been committed;

(5)   a hearing on any motion by the Government for detention;

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(6)     request transfer of the proceedings to this district under Fed.R.Crim.P. 20, to
        plead guilty.

        I agree to waive my right(s) to:

             an identity hearing and production of the warrant.

             a preliminary hearing.

             a detention hearing.

             an identity hearing, production of the warrant, and any preliminary or
              detention hearing to which I may be entitled in this district. I request
              that those hearings be held in the prosecuting district, at a time set by
              that court.

      I consent to the issuance of an order requiring my appearance in the
prosecuting district where the charges are pending against me.


Date:
                                            Defendant


Date:
                                            Attorney’s Signature


                                            Printed Name of Attorney




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